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                IN THE UNITED STATES BANKRUPTCY COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

IN RE:
HUGH C POSTELL                                         Case No. 18-14258-MDC

       Debtor
                                                       Chapter 13
PHH Mortgage Corporation,
       Movant

vs.
HUGH C POSTELL
                                                       11 U.S.C. §362
       Respondent

                                            ORDER

       AND NOW, this 28th day of                  June     2021, it is hereby ORDERED that the
corresponding Stipulation is hereby approved, shall be, and is hereby made an Order of this Court.




                                          ___________________________________
                                          Magdeline D. Coleman
                                          Chief U.S. Bankruptcy Judge
